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                                 IN THE UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

GABRIEL J HOWELL AND                                     §
STACIE L HOWELL                                          §
 Plaintiffs                                              §
                                                         §          C.A. NO. 4:22−cv−02668
VS.                                                      §
                                                         §
U.S. BANK TRUST NATIONAL                                 §
ASSOCIATION, NOT IN ITS INDIVIDUAL                       §
CAPACITY BUT SOLELY AS OWNER                             §
TRUSTEE FOR RCF 2 ACQUISITION                            §
TRUST AND SELENE FINANCE, LP                             §
 Defendants                                              §

                              STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiffs Gabriel J. Howell and Stacie L. Howell (“Plaintiffs”) hereby file this

Stipulation of Dismissal with Prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure, and would respectfully show unto the Court as follows:

          1.         Plaintiffs filed this lawsuit against Defendants, US Bank Trust National Association,

not in its individual capacity but solely as owner Trustee for RCF 2 Acquisition Trust (“Trustee”)

and Selene Finance LP (“Selene”) (both are collectively “Defendants”) in State Court on or about

August 1, 2022. Defendants filed an Answer in State Court and removed the matter to this Court

on August 9, 2022.

          2.         Plaintiffs wish to dismiss all claims against Defendants with prejudice.

          3.         In conformity with Rule 41(a)(1)(A)(ii), this Stipulation is signed by all parties who

have appeared in the action.

          4.         By this Stipulation, it is hereby stipulated that all claims and causes of action

brought by the Plaintiffs against Defendants, are dismissed with prejudice to re-filing same or any

part thereof.



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          5.         Plaintiffs and Defendants further stipulate that all costs of court, attorney’s fees

and other costs incurred are to be borne by the party incurring the same.

          WHEREFORE, PREMISES CONSIDERED, all claims and causes of action brought by

Plaintiffs against Defendants are dismissed with prejudice by stipulation of all parties.

                                                   Respectfully submitted,

                                                   By: /s/ Robert C. Lane
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                                                         Joshua D. Gordon
                                                         State Bar No. 24091592
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                                                   ATTORNEY-IN-CHARGE FOR PLAINTIFFS


                                                   By: /s/ Michael F. Hord Jr.
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                                           ATTORNEYS-IN-CHARGE FOR DEFENDANTS




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of September 2022 a true and correct copy of the
foregoing and/or attached was served on each attorney of record or party in accordance with
Federal Rule of Civil Procedure 5(b) as follows:

                                   Robert "Chip" C. Lane
                                  6200 Savoy, Suite 1150
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                                    Via ECF and Email



                                          /s/ Michael F. Hord Jr.
                                          Michael F. Hord Jr.




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